                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 1 of 39




                                                                1 Marquis Aurbach Coffing
                                                                  Brian R. Hardy, Esq.
                                                                2 Nevada Bar No. 10068
                                                                  10001 Park Run Drive
                                                                3 Las Vegas, Nevada 89145
                                                                  Telephone: (702) 382-0711
                                                                4 Facsimile: (702) 382-5816
                                                                  bhardy@maclaw.com
                                                                5
                                                                  Jonathan O’Brien, NYB No. 5043369
                                                                6 (Pending Admission Pro Hac Vice)
                                                                  Law Office of Jonathan O’Brien
                                                                7 Telephone: (646) 308-1689
                                                                  43 W. 43rd St, Suite 002
                                                                8 New York, NY 10036
                                                                  Jobrien@burnsobrienlaw.com
                                                                9
                                                                  Attorneys for Plaintiffs William Clark and Gabrielle Clark
                                                               10
                                                                                             UNITED STATES DISTRICT COURT
                                                               11
MARQUIS AURBACH COFFING




                                                                                                     DISTRICT OF NEVADA
                                                               12
                          (702) 382-0711 FAX: (702) 382-5816




                                                                   GABRIELLE CLARK,                               Case No.
                                                               13 individually and as parent and
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                                   guardian of WILLIAM CLARK                      PLAINTIFFS’ COMPLAINT
                                                               14 and WILLIAM CLARK,
                                                                   individually,                                  FOR INJUNCTIVE RELEIF,
                                                               15                                                 DECLARATORY RELIEF,
                                                                                           Plaintiffs             AND DAMAGES
                                                               16
                                                                                           v.
                                                               17
                                                                   STATE PUBLIC CHARTER SCHOOL
                                                               18 AUTHORITY, DEMOCRACY PREP
                                                                   PUBLIC SCHOOLS, DEMOCRACY PREP                       (JURY TRIAL DEMANDED)
                                                               19 PUBLIC SCHOOLS, INC., DEMOCRACY
                                                                   PREP at the AGASSI CAMPUS,
                                                               20 DEMOCRACY PREP NEVADA LLC,
                                                                   SCHOOL BOARD of Democracy Prep at
                                                               21 the Agassi Campus, NATASHA TRIVERS
                                                                   individually and in her official capacity as
                                                               22 Superintendent       and      CEO,     ADAM
                                                                   JOHNSON, individually and in his official
                                                               23 capacity as Executive Director and
                                                                   Principal, KATHRYN BASS individually
                                                               24 and in her capacity as Teacher, JOSEPH
                                                                   MORGAN, individually and in his official
                                                               25 capacity as Board Chair, KIMBERLY
                                                                   WALL individually and in her capacity as
                                                               26 assistant superintendent, and John & Jane
                                                                   Does 1-20
                                                               27
                                                                                           Defendants.
                                                               28
                                                                                                     Page 1 of 39
                                                                                                                     MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                      Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 2 of 39




                                                                1          Plaintiffs Gabrielle Clark individually and as parent and guardian of William Clark
                                                                2 and William Clark individually by and through their attorneys of record, the law firm of

                                                                3 Marquis Aurbach Coffing, allege and complain as follows:

                                                                4                                      NATURE OF ACTION
                                                                5          A.      ASSERTING INTEGRITY OF CONSCIENCE AGAINST STATE
                                                                                   DISCRIMINATION AND COERCION
                                                                6
                                                                           1.      Plaintiff, William Clark, brings suit for injunctive relief and damages against
                                                                7
                                                                    Defendants for repeatedly compelling his speech involving intimate matters of race, gender,
                                                                8
                                                                    sexuality and religion. Defendants compelled Plaintiff William Clark to make professions
                                                                9
                                                                    about his racial, sexual, gender and religious identities in verbal class exercises and in graded,
                                                               10
                                                                    written homework assignments which were subject to the scrutiny, interrogation and
                                                               11
MARQUIS AURBACH COFFING




                                                                    derogatory labeling of students, teachers and school administrators. By directing Plaintiff
                                                               12
                          (702) 382-0711 FAX: (702) 382-5816




                                                                    William Clark to reveal his identities in a controlled, yet non-private setting, to scrutiny and
                                                               13
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                                    official labeling, Defendants were and still are coercing him to accept and affirm politicized
                                                               14
                                                                    and discriminatory principles and statements that he cannot in conscience affirm. Defendants
                                                               15
                                                                    “invade the sphere of intellect and spirit which it is the purpose of the First Amendment to our
                                                               16
                                                                    Constitution to reserve from all official control.” West Virginia State Board of Education v.
                                                               17
                                                                    Barnette, 319 U.S. 624. Defendants repeatedly threatened William Clark with material harm
                                                               18
                                                                    including a failing grade and non-graduation if he failed to comply with their requirements.
                                                               19
                                                                    When he declined to participate in these confessional exercises and assignments, Defendants
                                                               20
                                                                    rejected his requests for reasonable accommodation and acted on their threats. Defendants’
                                                               21
                                                                    coercive and intrusive behavior compelled William Clark’s protected speech and invaded his
                                                               22
                                                                    privacy, violating his constitutional rights under the First Amendment and his due process
                                                               23
                                                                    rights under the Fourteenth Amendment.
                                                               24
                                                                           2.      Plaintiff, Gabrielle Clark, a black woman, is William Clark’s mother and only
                                                               25
                                                                    living parent guardian. William’s father, now deceased, was a white man and an attorney.
                                                               26
                                                                    Plaintiff Gabrielle Clark brings suit on her own behalf and asserts her Fourteenth Amendment
                                                               27
                                                                    substantive due process right to family integrity and autonomy, which the Defendants
                                                               28
                                                                                                              Page 2 of 39
                                                                                                                                  MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                      Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 3 of 39




                                                                1 deliberately threatened and undermined in word and deed, directing her son in class to

                                                                2 “unlearn” the basic Judeo-Christian principles she imparted to him, and then retaliated against

                                                                3 her son with a failing grade and threats of non-graduation when he declined to participate.

                                                                4 Parents possess a right and covenant to guide and direct the upbringing of their children, and

                                                                5 courts have repeatedly honored and upheld this right. See Troxel v. Granville, 530 U.S. 57, 66

                                                                6 (2000) (O’Connor, J., plurality); see also Meyer v. Nebraska, 262 U.S. 390, 401-02 (1923)

                                                                7 (upholding the "power of parents to control the education of their own.")

                                                                8          3.      Defendants, who include a state funded and sponsored charter school, teachers
                                                                9 and senior administrators, have deliberately created a hostile educational environment for

                                                               10 Plaintiff William Clark, who, unlike his classmates appears to be and is regarded by his peers

                                                               11 as white. Defendants thus discriminated on the basis of race and color, in addition to sex,
MARQUIS AURBACH COFFING




                                                               12 gender and religion, in violation of Title VI and Title IX of the Education Amendments of
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 1972, 20 U.S.C. §§ 1681 et seq. As Gabrielle Clark told Defendants in a meeting seeking
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 accommodation, “you put a bullseye on my son’s back.” The following illustration is copied

                                                               15 directly from Defendant school’s mandatory class material annexed hereto as Exhibit A and

                                                               16 exemplifies the glib discriminatory tone of the compulsory instruction:

                                                               17

                                                               18

                                                               19                                ERSE RIWISM
                                                               20                                                    IL • •      EM   I..
                                                               21

                                                               22

                                                               23

                                                               24                                                             . • I.
                                                               25                                                                           Atit%
                                                               26
                                                               27
                                                                                     DOES                                     off
                                                               28
                                                                                                           Page 3 of 39
                                                                                                                                            MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                      Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 4 of 39




                                                                1          B.      RELIEF REQUESTED
                                                                2          4.     William Clark’s graduation from high school has been threatened and his
                                                                3 academic performance has already been unjustly harmed. He and his mother Gabrielle Clark,

                                                                4 whose hopes are fully invested in her son’s wellbeing and prospects, seek emergency

                                                                5 injunctive relief for reasonable accommodation, as ongoing harm done and threatened to be

                                                                6 done by Defendants is irreparable, and pray the Court declare Defendants’ behavior in

                                                                7 violation of the First and Fourteenth Amendments to the United States Constitution, 42 U.S.C.

                                                                8 § 1983, and Title VI of the Civil Rights Act and Title IX of the Education Amendments of

                                                                9 1972, 20 U.S.C. §§ 1681 et seq.

                                                               10          5.     Plaintiffs also seek monetary damages, including compensatory and punitive
                                                               11 damages, for the damage done to William Clark’s future academic and professional prospects,
MARQUIS AURBACH COFFING




                                                               12 and for the Defendants’ deliberate and protracted harassment, emotional abuse, and violation
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 of Plaintiffs’ Constitutional Rights.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14                                JURISDICTION AND VENUE
                                                               15          6.     This action arises under 42 U.S.C. § 2000d, et seq. and 42 U.S.C. §1983. This
                                                               16 Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343.

                                                               17          7.     Venue is proper in the District of Nevada under 28 U.S.C. §1391 because the
                                                               18 events giving rise to the claims detailed herein occurred in the District of Nevada, and all

                                                               19 Defendants do business there. Defendants Democracy Prep Public Schools and Democracy

                                                               20 Prep Public Schools Inc. and associated individuals are interstate actors headquartered in

                                                               21 Manhattan.

                                                               22                                         THE PARTIES
                                                               23          A.     PLAINTIFFS
                                                               24          8.     Plaintiff William Clark is in the 12th grade at Democracy Prep at the Agassi
                                                               25 Campus (DPAC), formerly Andre Agassi College Preparatory Academy, where he first

                                                               26 enrolled six years ago. He has been there much longer than Defendants, who took over
                                                               27 management and control of the Agassi Campus three years ago. William is hoping to attend

                                                               28 college to study music. William resides in Clark County, Nevada with his Mother, Gabrielle
                                                                                                           Page 4 of 39
                                                                                                                             MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 5 of 39




                                                                1 Clark, in transitional housing with two siblings, both of whom are black. William’s father is

                                                                2 deceased.

                                                                3             9.      Gabrielle Clark is a single mother and guardian of three children, two of whom
                                                                4 are school age, including William Clark. She has brought up her children according to

                                                                5 traditional Judeo-Christian principles, including the proposition that every person is unique

                                                                6 and equal before the eyes of God and will be judged by the content of their character rather

                                                                7 than the color of their skin. Ms. Clark is temporarily disabled and unemployed, but is active

                                                                8 in her children’s education, having secured for them coveted admissions to public charter

                                                                9 schools in the Las Vegas area, specifically Clark County.

                                                               10             B.      DEFENDANTS
                                                               11             10.     Defendant State Public Charter School Authority [“SPCSA”] characterizes
MARQUIS AURBACH COFFING




                                                               12 itself as a “local education agency.”1 SPSCA certifies, authorizes, screens and monitors
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 DPAC, and recently renewed its contract with Defendants DPAC, Democracy Prep Nevada
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 LLC, and Democracy Prep at the Agassi Campus School Board in the contract annexed hereto.

                                                               15 The contract requires DPAC to notify SPCSA of any violations in its contractual obligations,

                                                               16 and SPSCA must in turn direct corrective action. SPCSA conducts site visits and evaluations,

                                                               17 including of curriculum and grading changes at DPAC. SPSCA’s acquiescence and deliberate

                                                               18 indifference to DPAC’s discriminatory and unconstitutional acts and curriculum

                                                               19 programming amounts to practice and custom with regards to the constitutional violations

                                                               20 discussed herein.

                                                               21             11.     Defendant Democracy Prep Public Schools (DPPS) describes itself as a public
                                                               22 charter school network and is organized under the laws of the State of New York. DPPS is

                                                               23 headquartered at 1767 Park Avenue, 4th & 5th Floor, in Manhattan. In its IRS Form 990 for

                                                               24 fiscal year ending in 2018, DPPS describes itself as a “charter management organization

                                                               25 providing educational services, management operations and fundraising activities” for charter

                                                               26
                                                               27
                                                                    1
                                                               28       See Contract, attached hereto as Exhibit B.

                                                                                                                  Page 5 of 39
                                                                                                                                  MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 6 of 39




                                                                1 schools including DPAC in Nevada.2            As a public educational institution and recipient of
                                                                2 federal and state funds, DPPS has a duty to enforce the United States Constitution and state

                                                                3 law by not enacting, imposing, operating, or maintaining policies, operations, or goals that

                                                                4 discriminate against or grant preferential or detrimental treatment to any individual or group

                                                                5 on the basis of race, sex, color, religion, ethnicity or national origin. Defendants’ curriculum

                                                                6 programming involving invasion of privacy, public disclosure of private, intimate facts,

                                                                7 compelled speech and discrimination was generated by DPPS in New York and amounts to

                                                                8 custom and practice.

                                                                9             12.    Defendant Democracy Prep at Agassi Campus (DPAC) is a K-12 member
                                                               10 school of the DPPS network. DPAC is located in Clark County, Nevada. DPAC receives and

                                                               11 benefits from federal and state financial assistance. DPAC claims that it relies entirely on
MARQUIS AURBACH COFFING




                                                               12 public funds — in 2018 about $5,700 per pupil from the state and federal funds. DPAC has
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 utilized and expended public monies to implement its unconstitutional “civics” programming
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 in violation of the United States Constitution, Title VI, Title IX and Nevada State Law. DPAC

                                                               15 is also obligated to adhere to Title VI in its contract with Defendant SPCSA.

                                                               16             13.    Defendant Democracy Prep Public Schools, Inc. is the only managing member
                                                               17 of Defendant Democracy Prep Nevada LLC whose executive director is DPAC Principal

                                                               18 Adam Johnson.

                                                               19             14.    Defendant Democracy Prep Nevada LLC is a legal entity registered under the
                                                               20 laws of Nevada, and the contract between it and the SPCSA describes it is a separate entity

                                                               21 from the DPAC charter school itself.3 This legal entity was first registered on February 13,

                                                               22 2017 under the legal form of Domestic Limited-Liability Company registered in the state of

                                                               23 Nevada. The company is categorized under Public Combined Elementary and Secondary

                                                               24 School. Current estimates show this company has an annual revenue of $80,555 and employs

                                                               25

                                                               26   2
                                                                        https://projects.propublica.org/nonprofits/organizations/202629354/201921429349301972/IRS990
                                                               27   3
                                                                     http://charterschools.nv.gov/uploadedFiles/CharterSchoolsnvgov/content/News/2020/200626-
                                                               28   Democracy-Prep-at-Agassi-Contract-draft-5-21-20-clean.pdf

                                                                                                               Page 6 of 39
                                                                                                                                   MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 7 of 39




                                                                1 a staff of one, who is Defendant Adam Johnson. Democracy Prep Nevada LLC has one listed

                                                                2 managing member, Democracy Prep Public Schools, Inc.4

                                                                3             15.     DPAC School Board [School Board] is the “final authority in matters affecting
                                                                4 [DPAC] and responsibility for the academic, financial, and organizational performance…and

                                                                5 curriculum.”5 The DPAC School Board is a unique entity with final oversight of DPAC

                                                                6 operations, curriculum and disciplinary matters, and is duty bound according to its contract

                                                                7 with Defendant SPCSA to ensure non-discrimination in accordance with Title IX and VI and

                                                                8 federal and state law. Defendant Joseph Morgan is Chair of DPAC School Board. Defendant

                                                                9 School Board acquiesced and was deliberately indifferent to the civil rights abuses inflicted

                                                               10 on Plaintiffs and affirmatively approved as policy the coercive, invasive, and discriminatory

                                                               11 curriculum programming.
MARQUIS AURBACH COFFING




                                                               12             16.     Defendant Kathryn Bass is a teacher and employee at DPAC. She teaches and
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 grades the compulsory “Sociology of Change” class in which William Clark was enrolled,
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 and she required William Clark and his fellow students to reveal and make professions about

                                                               15 their gender, sex, religious and racial identities, and subjected those professions to public

                                                               16 interrogation, scrutiny and derogatory labeling as part of a curriculum designed, promoted and

                                                               17 implemented by DPPS and its CEO and Superintendent Natasha Trivers. Defendant Kathryn

                                                               18 Bass terminated class discussion when Plaintiff William Clark and other students sought to

                                                               19 engage critically with Defendants’ class material and programming that assigned character

                                                               20 attributes on the basis of race, sex and gender. She also failed Plaintiff William Clark for the

                                                               21 class at issue, and penalized him for not completing graded identity confession assignments.

                                                               22             17.     Defendant Adam Johnson is the school principal of DPAC and its Executive
                                                               23 Director and Executive Director at Democracy Prep Nevada LLC. He personally oversees and

                                                               24 implements curriculum and discipline at DPAC, and threatened a failing grade and non-

                                                               25 graduation upon William Clark and his mother on multiple occasions if William Clark did not

                                                               26
                                                                    4
                                                               27       http://www.buzzfile.com/business/Democracy-Prep-Nevada-LLC-702-948-6000
                                                                    5
                                                               28       See Exhibit B at page 7.

                                                                                                              Page 7 of 39
                                                                                                                                 MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 8 of 39




                                                                1 participate in the “Sociology of Change” instruction sessions featuring compelled speech,

                                                                2 viewpoint discrimination, invasion of privacy and patent discrimination. Defendant Adam

                                                                3 Johnson delivered on his threats, ruining Plaintiff’s good college prospects built on years of

                                                                4 hard work and a strong GPA, conferring a D- on Plaintiff William Clark for the class, even

                                                                5 though DPAC’s Handbook states “Democracy Prep does not give Ds.”6

                                                                6             18.     Defendant Natasha Trivers is the new CEO of DPPS and DPPS Inc. and
                                                                7 Superintendent of all 21 affiliated member schools, including DPAC in Nevada. She

                                                                8 personally oversees staffing, design and implementation of curriculum nationally, including

                                                                9 the Civics Program of which the course at issue, “The Sociology of Change” and its tandem

                                                               10 “Change the World” project is a part. She has publicly encouraged Democracy Prep students

                                                               11 to think for themselves and “push back” against DPPS school policies if students found them
MARQUIS AURBACH COFFING




                                                               12 to be unjust, however she retaliated against William Clark and his mother when they did just
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 this and asserted their constitutional rights in seeking reasonable accommodation from
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 Defendants. Defendant Kimberly Wall stated that Defendant Natasha Trivers was aware and

                                                               15 intimately involved in every action taken by Defendants towards Plaintiffs concerning the

                                                               16 “civics” class and programming at issue.

                                                               17             19.     Defendant Kimberly Wall is assistant superintendent of DPPS in New York
                                                               18 City, had knowledge of and personally supported, implicitly and directly, in meetings and

                                                               19 correspondence with Plaintiffs, the above-described policy and subsequent coordinated

                                                               20 retaliation against Plaintiffs. In at least two meetings with Plaintiffs and counsel Defendant

                                                               21 Kimberly Wall refused reasonable accommodation, refused to repair the failing grade awarded

                                                               22 to William for the class at issue and would give no assurances that future mandatory class

                                                               23 programming would not involve identity confessions and labeling in class or in graded

                                                               24 homework assignments.

                                                               25             20.     Defendant Joseph Morgan is Chair of the School Board at DPAC and a
                                                               26 Professor at UNLV in Child Development. He was awarded a $2.5 million grant to fund
                                                               27
                                                                    6
                                                               28       See Handbook, attached hereto as Exhibit C, at page 23.

                                                                                                                 Page 8 of 39
                                                                                                                                  MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                      Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 9 of 39




                                                                1 ReInvent Schools Las Vegas – Community Schools Initiative, a project designed to implement

                                                                2 a community-schools model on three elementary school campuses within the Las Vegas

                                                                3 Valley. Additionally, he received a $300,000 award to study the implementation of site-based

                                                                4 professional development to support inclusive practices in partnership with the Nevada

                                                                5 Partnership for Inclusive Education (NVPIE). When not deliberately indifferent towards

                                                                6 Plaintiffs, Defendant Joseph Morgan actively directed, supervised and was personally

                                                                7 involved in the discriminatory retaliation and policy of compelled speech imposed on

                                                                8 Plaintiffs since September of this year, as evidenced in written correspondence and in

                                                                9 meetings with Plaintiffs. He failed to take corrective measures as stipulated in the DPAC

                                                               10 Handbook and SPCSA contract when put on notice that Defendants’ actions were illegal and

                                                               11 created a hostile environment for Plaintiff William Clark.
MARQUIS AURBACH COFFING




                                                               12          21.     All named Defendants are persons acting under color of state law within the
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 meaning of 42 U.S.C. § 1983.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14                                  FACTUAL BACKGROUND
                                                               15          22.     In 2014, Plaintiff William Clark enrolled in the sixth grade at Andre Agassi
                                                               16 College Preparatory Academy in Clark County, Nevada. At the time Andre Agassi College

                                                               17 Preparatory Academy fell under the operational control of Clark County School District. In

                                                               18 December of 2016, after receiving a $12.7 million grant from the US Department of

                                                               19 Education, New York City based Democracy Prep Public Schools (DPPS) and Democracy

                                                               20 Prep Public Schools Inc. acquired Andre Agassi College Preparatory Academy.

                                                               21          23.     DPPS’ acquisition of Andre Agassi College Preparatory Academy was part of
                                                               22 a larger national expansion. DPPS had grown from its initial class of 130 sixth-graders in New

                                                               23 York City in 2006 to roughly 6,500 students in 21 schools today. In 2018, DPPS received

                                                               24 $21.8 million in grants from the U.S. Department of Education’s Charter School Program to

                                                               25 fund the opening of additional campuses around the country. On its website, DPPS projects

                                                               26 its total enrollment to be 10,000 students nationally. DPPS asserts it “funds all of its schools
                                                               27 with only the public money we receive from the city, state, and federal government,” but at

                                                               28 the same time “seeks private philanthropy for strategic initiatives separate from the running
                                                                                                            Page 9 of 39
                                                                                                                                MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                        Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 10 of 39




                                                                1 of its schools.”7 Despite their self-professed public status and exclusive reliance on public

                                                                2 funding, DPAC or Democracy Prep Nevada LLC and DPPS applied for and received millions

                                                                3 of dollars in Payroll Protection Program loans under the CARES Act this summer.8

                                                                4             24.     DPPS began implementing its “civics” curriculum at the newly acquired
                                                                5 Agassi Campus in the Fall of 2017. The acquisition met with significant resistance from

                                                                6 parents who were skeptical of the newly arrived New York organization. Defendant Natasha

                                                                7 Trivers, DPPS’s interim CEO at the time, characterized the parental opposition to Democracy

                                                                8 Prep in Las Vegas as comprised of “haters,” and lamented the difficulty of combating this

                                                                9 opposition because of the sheer geographic distance between the school and the organization

                                                               10 taking it over: “We’ve always dealt with the haters, so to speak, but that was haters on a really

                                                               11 large scale.” She added that she regretted “not getting out in front of our parents so that they
MARQUIS AURBACH COFFING




                                                               12 heard our voice louder than the detractors in a way that we just haven’t experienced before.”
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13   9
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14             25.     Defendant Natasha Trivers at the time was interim CEO of DPPS during the
                                                               15 medical leave and absence of Katie Duffy, who would later resign from DPPS. Upon her

                                                               16 assumption of the role of full and permanent CEO more recently, Natasha Trivers began

                                                               17 implementing a very different “civics” curriculum, although the generic name and syllabi

                                                               18 provided to parents remained the same. Parents at DPAC were not made aware of the

                                                               19 ideological turn in curriculum. In place of a conventional civics curriculum that addressed the

                                                               20 workings of the democratic system, political history, and the importance of civic engagement,

                                                               21 Trivers’ new DPPS curriculum inserted consciousness raising and conditioning exercises

                                                               22 under the banner of “Intersectionality” and “Critical Race Theory.” These sessions, according

                                                               23 to the instruction materials exhibited herein, are not descriptive or informational in nature, but

                                                               24

                                                               25   7
                                                                        http://democracyprep.org/about/
                                                               26   8
                                                                        https://www.cnn.com/projects/ppp-business-loans/businesses/democracy-prep-public-schools
                                                               27   9
                                                                     https://www.the74million.org/article/democracy-preps-expansion-woes-raise-questions-about-
                                                               28   whether-civics-education-can-be-brought-to-scale/

                                                                                                               Page 10 of 39
                                                                                                                                   MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 11 of 39




                                                                1 normative and prescriptive: they require pupils to “unlearn” and “fight back” against

                                                                2 “oppressive” structures allegedly implicit in their family arrangements, religious beliefs and

                                                                3 practices, racial, sexual, and gender identities, all of which they are required to divulge and

                                                                4 subject to non-private interrogation. Some racial, sexual, gender and religious identities, once

                                                                5 revealed, are officially singled out in the programming as inherently problematic, and assigned

                                                                6 pejorative moral attributes by Defendants.

                                                                7            26.    Because the so-called “civics” curriculum implemented by Defendant Natasha
                                                                8 Trivers carried the same name as the previous curriculum promoted by former DPPS CEO

                                                                9 Katie Duffy, parents at DPAC like Gabrielle Clark were not aware of the turn towards

                                                               10 coercive, ideological indoctrination until they began seeing the detrimental effects it worked

                                                               11 upon their children. 10
MARQUIS AURBACH COFFING




                                                               12            27.    At the former Andre Agassi College Preparatory Academy and at DPAC,
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Plaintiff William Clark first developed his academic interests in musicology and sound
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 engineering, a subject that he hopes to pursue in college. He aspires to attend Berkley School

                                                               15 of Music or New York University, while his mother hopes he chooses Carnegie Mellon. As a

                                                               16 12th grader, he is beginning the application process to college right now. He does all of this

                                                               17 while working as a shift manager at a local fast food chain restaurant in order to help his

                                                               18 family financially, managing intermittent “virtual learning,” and living through this year’s

                                                               19 waves of lockdowns, stay-at-home orders and social unrest.

                                                               20            28.    At the end of August of this year, at the start of his final school year, William
                                                               21 Clark began the year-long “Sociology of Change” class required for all DPAC seniors and

                                                               22 taught by teacher Kathryn Bass. The class runs in tandem with another project-based class,

                                                               23

                                                               24   10
                                                                       As a practical matter, Plaintiffs cannot simply transfer to another school. They are economically
                                                               25   disadvantaged and DPPS and DPAC continue to actively discourage midyear senior transfers as policy,
                                                                    as evidenced by their resistance to providing plaintiffs with educational records. In a past email titled
                                                               26   “no documents for transfers” sent to defendant administrators, DPPS founder Seth Andrews stated
                                                                    “We are absolutely within our rights NOT to help transfers in any way transfers mid-way senior year.
                                                               27   No transcripts, no letter of recommendation, nothing. I’m happy to discuss but no one at DPPS is
                                                                    permitted to help a senior who wants to transfer out with in any way. Feel free to refer angry kids or
                                                               28   parents to me. But consider this non-negotiable.”

                                                                                                                Page 11 of 39
                                                                                                                                       MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 12 of 39




                                                                1 “Change the World,” in which students carry out a political or social work project under the

                                                                2 guidance of a defendant Kathryn Bass and with input from other students.11

                                                                3              29.        After Plaintiffs objected in early September to the coercive and ideological
                                                                4 nature of the “Sociology of Change” class, DPAC Principal Adam Johnson informed

                                                                5 Gabrielle Clark that the theoretical basis of the revamped “Sociology of Change” course is

                                                                6 known as “intersectionality,” and is inspired by political activist, academic and “Critical Race

                                                                7 Theory”12 proponent Kimberlé Crenshaw, who is featured prominently in the course materials

                                                                8 attached hereto. Defendants would later deny in a meeting with Plaintiff Gabrielle Clark that

                                                                9 the class was infused with “Critical Race Theory.” Plaintiff William Clark’s first graded

                                                               10 assignment for the class worth 10pts required him to reveal his racial, sexual, gender, sexual

                                                               11 orientation, disabilities and religious identities. Plaintiff William Clark was required to submit
MARQUIS AURBACH COFFING




                                                               12 his race, gender, sexual orientation, disabilities “if any” in a homework assignment due by
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 September 21 and which was “graded for completion” for a total of 20pts. Upon information
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 and belief such assignments continued at least until October of this year.

                                                               15              30.        “Hello my wonderful social justice warriors!” Defendant Kathryn Bass greeted
                                                               16 William Clark and his class on or about September 8th of this year.13 Ms. Bass then requested

                                                               17 each student to “label and identify” their gender, racial and religious identities as part of “an

                                                               18 independent reflection” exercise which was graded. The next step was to determine if “that

                                                               19 part of your identity have privilege or oppression attached to it.”14 Privilege was defined as

                                                               20 “the inherent belief in the inferiority of the oppressed group.”15 The teacher’s material stated

                                                               21

                                                               22   11
                                                                         A copy of the DPAC curriculum and syllabi is attached hereto as Exhibit D.
                                                               23   12
                                                                       Defendants’ class wears many hats, and defendants describe it in various ways, including
                                                               24   “Intersectionality,” “Critical Race Theory” and “Sociology of Change.” Rather than disambiguating
                                                                    the various titles and characterizations, plaintiffs focus on the specific harms inflicted on them by
                                                               25   defendants’ class programming.
                                                                    13
                                                               26        See Ex. A at page 30.
                                                                    14
                                                               27        Id. at page 11.
                                                                    15
                                                               28        Id. at page 2.

                                                                                                                 Page 12 of 39
                                                                                                                                     MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 13 of 39




                                                                1 who qualified as oppressors, and who in virtue of their gender and race harbored “inherent

                                                                2 belief in the inferiority” of others.16 As a result, Kathryn Bass explicitly assigned moral

                                                                3 attributes to pupils based on their race, gender, sexual orientation and religion. William Clark

                                                                4 felt that if he had submitted to the terms of this exercise, he would have been in effect adopting

                                                                5 and making public affirmations about his racial, sexual, gender identities and religious

                                                                6 background that he believed to be false and which violated his moral convictions. He also did

                                                                7 not wish to profess his identities on command in a non-private setting.

                                                                8              31.     A “vocab reminder” visual graphic from the same class instructed participants
                                                                9 that “oppression” is “malicious or unjust treatment or exercise of power.”17 The lesson

                                                               10 categorized certain racial and religious identities as inherently “oppressive,” singling these

                                                               11 identities out in bold text, and instructed pupils including William Clark who fell into these
MARQUIS AURBACH COFFING




                                                               12 categories to accept the label “oppressor” regardless of whether they disagreed with the
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 pejorative characterization of their heritage, convictions and identities. The familial, racial,
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 sexual, and religious identities that were officially singled out and characterized as

                                                               15 “oppressive” were predetermined by Defendants’ class material from the outset, highlighted

                                                               16 as such in bold text, antecedent to any discussion between student and teacher. Plaintiff

                                                               17 William Clark could not bring himself to accept or affirm these labels, which he

                                                               18 conscientiously believed were calumny against his self-identity and his family. What William

                                                               19 Clark refused to do was to submit to racial, sexual, and religious labeling exercises carried out

                                                               20 in a non-private setting which was coercive in its very nature and trafficked in intimate

                                                               21 personal matters that are outside the legitimate scope of state-funded and controlled public

                                                               22 education.

                                                               23              32.     After Defendant Kathryn Bass directed William Clark and his fellows to “label
                                                               24 and identify” their various identities, and place them in the designated “oppressive”

                                                               25 categories, the next step was to “breakout” into groups to discuss with other pupils, asking

                                                               26
                                                                    16
                                                               27        Id.
                                                                    17
                                                               28        Id. at page 23.

                                                                                                               Page 13 of 39
                                                                                                                                  MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 14 of 39




                                                                1 and answering accusatory personal questions, including “Were you surprised with the amount

                                                                2 of privilege or oppression that you have attached to your identities” and “How did this activity

                                                                3 make you feel.”18 Those students who did not “feel comfortable or safe enough to do so,”

                                                                4 presumably those whose identities were oppressive, were permitted to refrain from divulging

                                                                5 the information to other students in their group, Defendant Kathryn. Bass assured them. [Id.]

                                                                6 However, discomfort was not relieved by Kathryn Bass’ offered dispensation, according to

                                                                7 William Clark. The pre-set structure of the class ensured that any pupil of a certain perceived

                                                                8 race, gender or sex who declined to participate only highlighted his status as an “oppressor”

                                                                9 who harbored inherent “privilege.” Pupils remained visible to one another in the classes that

                                                               10 were virtual, defendant Kimberly Wall said, their faces stacked around the teacher “like the

                                                               11 opening credits of the Brady Bunch,” as Ms. Wall would later describe it to Plaintiffs.
MARQUIS AURBACH COFFING




                                                               12 Defendants’ class presentation also stated that denial of these identity characterizations
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 amounts to unjust privilege “expressed as denial.”19 Defendants’ class exercises forced upon
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 William Clark a deliberately designed, psychologically abusive dilemma: participate in the

                                                               15 exercise in violation of his conscience and be branded with a pejorative label; or

                                                               16 conscientiously refrain from participation, and suffer isolation from his classmates and be

                                                               17 maligned by the same labeling regardless.

                                                               18              33.     The official, derogatory labeling included in the DPPS/DPAC curriculum
                                                               19 programming was not only based upon invidious racial distinctions, but also upon the basis of

                                                               20 religious, sexual, and gender discrimination. In addition to the “white” racial identity,

                                                               21 Defendants singled and assigned inherent moral attributes to pupils who fell into male,

                                                               22 heterosexual gender/sex identities and Christian religious categories, calling them intrinsically

                                                               23 oppressive, the materials defining “oppression” as “malicious or unjust” and “wrong.”20.

                                                               24 Plaintiff William Clark was compelled to participate in public professions of his racial,

                                                               25
                                                                    18
                                                               26        Id. at page 22.
                                                                    19
                                                               27        See Exhibit A, page 2.
                                                                    20
                                                               28        See Exhibit A, page 11.

                                                                                                             Page 14 of 39
                                                                                                                                MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 15 of 39




                                                                1 religious, sexual, and gender identities, and would be labeled as an “oppressor” on these bases

                                                                2 by Defendants. Plaintiff William Clark was obliged to profess himself complicit in

                                                                3 “internalized privilege [which] includes acceptance of a belief in the inherent inferiority of

                                                                4 the [corresponding] oppressed group” as well as supporting “the inherent superiority or

                                                                5 normalcy of one’s own privileged group.” As a male, William Clark’s identities were

                                                                6 “malicious and unjust” and “wrong” whether or not he was conscious of these alleged facts,

                                                                7 and whether or not he was personally responsible for any acts or omissions21. By professing

                                                                8 his sexuality at the teacher’s command, William Clark would in effect be submitting to these

                                                                9 derogatory labels. William Clark and his fellow students were instructed that any denial of

                                                               10 these characterizations itself amounts to unjust privilege “expressed as denial”22. Plaintiff

                                                               11 William Clark’s female teacher instructed him that only members of the male sex were
MARQUIS AURBACH COFFING




                                                               12 capable of committing “real life interpersonal oppression”, because “interpersonal sexism is
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 what men to do women”23. This was not descriptive instruction, but compulsory, graded
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 normative exercises in which Plaintiff William Clark was required to participate.

                                                               15             34.     William Clark and his mixed-race family belong to many of the groups
                                                               16 characterized as “oppressive” and “wrong” by Defendants. The assignment of these

                                                               17 derogatory labels based upon racial, sexual, gender and religious upbringing created a hostile

                                                               18 environment for Plaintiff William Clark, who for instance was raised according to Judeo-

                                                               19 Christian precepts and traditions by his mother. Defendants’ curriculum programming and

                                                               20 Kathryn Bass’ actions labeled Christianity as an example of an oppressive ideology and

                                                               21 institution against which students should “fight back” and “unlearn.”24. The material makes

                                                               22 explicit the “unlearning” is to take place in class, at the direction of the teacher. In fact, one

                                                               23

                                                               24
                                                                    21
                                                               25        See Exhibit A, page 11.
                                                                    22
                                                               26        See Exhibit A, page 2.
                                                                    23
                                                               27        See Exhibit A, page 9.
                                                                    24
                                                               28        See Exhibit A, page 33.

                                                                                                            Page 15 of 39
                                                                                                                                 MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 16 of 39




                                                                1 slide that William Clark was exposed to states “We have a lot of unlearning to do.”25.

                                                                2 Defendants’ exercises and class programming was normative, not descriptive, and aimed to

                                                                3 foment in pupils an inward conversion regarding personal moral and spiritual convictions they

                                                                4 brought with them to the classroom from their personal experiences and families.

                                                                5             35.     Professing one’s racial, sexual and religious identities on command, and
                                                                6 exposing those professions to the scrutiny of others, was a regular and official practice of the

                                                                7 DPPS/DPAC “Sociology of Change” curriculum programming, which William Clark was

                                                                8 required to perform repeatedly, and not just in the beginning classes. The terms of this practice

                                                                9 were authored by DPPS, as DPPAC and DPPS Defendants informed Plaintiffs in a mid-

                                                               10 November meeting. “On the Google Doc write down your individual identity,” Defendant

                                                               11 Kathryn Bass directed Plaintiff William Clark and his classmates in one virtual online
MARQUIS AURBACH COFFING




                                                               12 session.26 “Fill out your identities again,” she reiterated. Individual identities to be written
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 down and submitted for grading included:
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14             Race/Ethnicity/Nationality: __________________
                                                               15             Gender:__________
                                                               16             Socioeconomic Status:______________
                                                               17             Disabilities: ______________
                                                               18             Religion: _________________
                                                               19             Age: _________________
                                                               20             Language: ________________ [Id.]
                                                               21             36.     The above assignment was graded and the assignment sheet included an
                                                               22 asterisked caveat at the end: “This list is private! No one else will see it.” The assurance proved

                                                               23 to be false, however, because the entry of identities was required to be submitted to the teacher,

                                                               24 which she could see and muse over; and although students like Plaintiff William Clark did not

                                                               25 know it, by entering their intimate personal information onto the student assignment Google

                                                               26
                                                                    25
                                                               27        See Exhibit A, page 35.
                                                                    26
                                                               28        See Exhibit A, page 34.

                                                                                                             Page 16 of 39
                                                                                                                                 MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 17 of 39




                                                                1 Doc database, it immediately became visible to all DPAC teachers and administrators and

                                                                2 remains so to this day, in contravention of the written privacy assurance Defendants gave to

                                                                3 Plaintiff William Clark and his fellow students, as Plaintiffs and counsel were later informed

                                                                4 by Defendants in a mid-November meeting. Defendants also conceded to Plaintiffs and

                                                                5 counsel in a mid-November meeting that school supervisors including Defendant Adam

                                                                6 Johnson could and would “tune in” to the classroom sessions unbeknownst to students like

                                                                7 Plaintiff William Clark, who were at the time in acute discomfort as their gender, race,

                                                                8 disabilities “if any”, and sex were being confessed, interrogated, and labeled on Zoom.

                                                                9            37.    DPAC and DPPS Defendants including Kimberly Wall conceded in meetings
                                                               10 with Plaintiffs in mid-November and again in early December with counsel that required

                                                               11 exercises and graded homework assignments involving identity confessions as described
MARQUIS AURBACH COFFING




                                                               12 above indeed occurred. Defendants said in the mid-November meeting that revealing
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 identities was “encouraged.” Defendants including Kimberly Wall refused to assure Plaintiffs
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 that graded identity confession assignments or in class exercises would not occur again in

                                                               15 future “Sociology of Change” and “Change the World” classes that William Clark is required

                                                               16 to attend for graduation. Defendants’ current position by counsel is that they will not expunge

                                                               17 the failing grade they gave plaintiff William Clark or allow him to take an alternative class

                                                               18 but that he may partially repair his grade for last trimester’s “Sociology of Change” class if

                                                               19 he completes all the assignments, which would still not be full credit.

                                                               20            38.    Defendants’ curriculum made attacks against the integrity of Plaintiff William
                                                               21 Clark and his mother’s family relationships. Families “reinforce racist / homophobic

                                                               22 prejudices,”27. William Clark’s deceased father was white, and he died when William was too

                                                               23 young to know him. The DPPS/DPAC teacher presentation material purports to supply

                                                               24 substantial information as to what sort of man he was, however, and what sort of relationship

                                                               25 he had with Plaintiff William Clark’s black mother. “Interpersonal racism is what white

                                                               26
                                                                    27
                                                               27     See Exhibit A, at page 36. Upon information and belief this position concerning families is in
                                                                    keeping with DPPS and Natasha Trivers’ express, official, and public promotion of organizations that
                                                               28   promote the dismantling of “Western prescribed nuclear family structure.”

                                                                                                              Page 17 of 39
                                                                                                                                   MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 18 of 39




                                                                1 people do to people of color close up,” one “Sociology of Change” curriculum slide declares,

                                                                2 with examples including “beatings and harrasments.”28 Defendants do admit that not all white

                                                                3 people may be guilty of individually performing such acts, but because white people belong

                                                                4 to a “dominant group,” invidious distinctions are justified: “Some people in the dominant

                                                                5 group are not consciously oppressive…Does this make it OK? No!”29.

                                                                6             39.      With green eyes and blondish hair, Plaintiff William Clark is generally
                                                                7 regarded as white by his peers, and despite having a black mother, is so light skinned that he

                                                                8 is usually presumed “white” by all others. He is the only apparent white boy in his class, in

                                                                9 fact, and is regularly reminded of it. Still, the DPPS/DPAC “Sociology of Change” curriculum

                                                               10 programming which William Clark had to submit to says not to worry30:

                                                               11
MARQUIS AURBACH COFFING




                                                               12
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14                                                 Signal rill_
                                                                                                                               •   449perpm•I =MI&             orm
                                                               15                                                                        e* by Wombarll wtmopmbigel
                                                                                                                               •       imple of Wm. CAM Moe gwayLpH
                                                               16                                                              •
                                                                                                                                   WIEN %Mill Fm4010
                                                                                                                                   INNOrilti.

                                                                                    REV P. IS It RIPPC1561 IS NOT ±frALI       •                          HNuimir
                                                               17                                                                     •    F4NrL            *rip
                                                                                                                                           mil•hr        Emlome ddi—k
                                                                                                                                              IT Fusin. "Ora mum
                                                               18                                                                   - Tim n..•••
                                                                                                                               •   T3htecbro 4 Imi•imeweriel doeme..44 set
                                                                                                                                   krEp chi pirrm riikal%
                                                               19                                                                  Maim' cLe             amp& 'NS* item Sew
                                                                                                                                          pmer
                                                               20

                                                               21
                                                                                              • WO MI. 411•11.1111ho 4144141111100.•
                                                               22

                                                               23             And again:
                                                               24
                                                                    28
                                                               25        See Exhibit A, at page 9.
                                                                    29
                                                               26        See Exhibit A, at page 10.
                                                                    30
                                                               27        See Exhibit A., at pages 8, 24.

                                                               28
                                                                                                                      Page 18 of 39
                                                                                                                                                 MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 19 of 39




                                                                1

                                                                2

                                                                3

                                                                4                             RACISM =IJA1111[1.1+ POWER
                                                                5

                                                                6                         Therefore, people of color CANNOT be racist.
                                                                7

                                                                8

                                                                9

                                                               10

                                                               11
MARQUIS AURBACH COFFING




                                                               12          40.    The tendentious terms in which DPPS/DPAC’s mandatory “Sociology of
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Change” class was presented to Plaintiff William Clark and his classmates made rational
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 classroom discussion virtually impossible, thus ensuring a hostile educational environment.

                                                               15 Because Defendants’ programming predesignated guilt and innocence to individuals for

                                                               16 racial, sexual, and gender injustice in the very terminology, it forced pupils to adopt these

                                                               17 premises at the outset, frustrating good-faith deliberation between students and teacher.

                                                               18          41.     It is therefore predictable that one of Plaintiff William Clark’s first “Sociology
                                                               19 of Change” sessions at DPAC on or about September 10, 2020 erupted into racially charged

                                                               20 tumult, and teacher Kathryn Bass terminated discussion when students, including William

                                                               21 Clark, objected to her derogatory, race-based labeling. Her actions both intimidated him from

                                                               22 speaking out in class further and was an official endorsement of an ideology he could not in

                                                               23 conscience affirm. This class session was conducted in a virtual online Zoom forum, and

                                                               24 Plaintiff Gabrielle Clark immediately complained abouts its disorder and intimidation to

                                                               25 Defendant Adam Johnson, principal of DPAC. In a meeting with Plaintiffs DPPS and DPAC

                                                               26 Defendants would neither confirm nor deny whether they generated a report regarding the
                                                               27 incident. This initial online incident and sitting through classes described above traumatized

                                                               28 William Clark, discouraged and chilled his speech, and he did not want to participate further.
                                                                                                            Page 19 of 39
                                                                                                                                 MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 20 of 39




                                                                1 His mother also did not want him to participate further, and told Defendants repeatedly,

                                                                2 complaining specifically of the coercive identity revelations and the subsequent hostile

                                                                3 environment Defendants were fostering.

                                                                4          42.     Defendants informed Plaintiff William Clark that he must return to and
                                                                5 complete the “Sociology of Change” class, or he would not be permitted to graduate from

                                                                6 high school. Plaintiffs spoke with school officials on multiple occasions from September to

                                                                7 the present to express their conscientious objection to the programming of the class and assert

                                                                8 their rights to abstain from participating in a class that was coercive, invasive and

                                                                9 discriminatory. But the response from increasingly higher levels DPAC and DPPS officials

                                                               10 was the same: don’t participate, don’t graduate.

                                                               11          43.     Plaintiff Gabrielle Clark spoke with DPAC Principal Adam Johnson on or
MARQUIS AURBACH COFFING




                                                               12 about September 15, 2020 to discuss her and Plaintiff William Clark’s concerns about the
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 abusive and discriminatory nature of DPAC/DPPS’ “Sociology of Change” class taught by
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 Defendant Kathryn Bass, as well as the identity confessions and labeling, which Defendants

                                                               15 in a mid-November meeting would concede was “encouraged.” Defendant Adam Johnson,

                                                               16 DPAC principal and Democracy Prep Nevada LLC Executive Director, dismissed Plaintiffs’

                                                               17 concerns, instead delivering a lecture on the virtues of “intersectionality” theory that inspired

                                                               18 the class, and should inspire them. He denied the class had anything to do with “Critical Race

                                                               19 Theory.” He told Plaintiffs that the course was required for graduation and he would not allow

                                                               20 William to opt out of participation.

                                                               21          44.     On September 16, 2020 Plaintiff Gabrielle Clark appealed in a written email
                                                               22 to DPAC School Board Chair Joseph Morgan, copying Principal Adam Johnson and DPPS

                                                               23 superintendent Kimberly Wall. “My son is the only white student in this class, as far as we

                                                               24 can tell. This teacher is blatantly justifying racism against white people thereby putting my

                                                               25 son in emotional, psychological, and physical danger. This is not ok. Something needs to be

                                                               26 done to remedy this situation immediately.” She asked to be contacted immediately in order
                                                               27 to discuss a workable solution.

                                                               28
                                                                                                            Page 20 of 39
                                                                                                                                MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 21 of 39




                                                                1             45.     On September 17, DPAC School Board Chair and Defendant Joseph Morgan
                                                                2 replied without any solution or offer of dialogue, instead laying out in an email a four-tier

                                                                3 bureaucratic process through which Plaintiffs William and Gabrielle Clark would be required

                                                                4 to process any complaints. Defendant Joseph Morgan was included in nearly every stage of

                                                                5 negotiations for accommodation in correspondence and telephonic meetings with Plaintiffs.

                                                                6 Upon information and belief he and the DPAC School Board he chairs screened and approved

                                                                7 the curriculum programming at issue, and took no corrective action when complaints were

                                                                8 raised.

                                                                9             46.     In a signed letter dated September 17, 2020, DPAC Principal Adam Johnson
                                                               10 wrote to Plaintiff Gabrielle Clark that “[a]fter reviewing the documents from Ms. Bass, the

                                                               11 course syllabus, and hearing your concerns, I have determined that the Sociology of Change
MARQUIS AURBACH COFFING




                                                               12 course is still a valuable learning experience for William (and his classmates) and will
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 continue to be a required course for graduation.”31.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14             47.     Again, on October 12, 2020, DPAC Principal Adam Johnson sent an email to
                                                               15 Gabrielle Clark in response to her and William’s complaints about the discriminatory identity

                                                               16 labeling, stating “I know you have disagreements with some of the information shared in the

                                                               17 Sociology of Change course, however, as I mentioned the course is required for graduation.”

                                                               18 On the same day Gabrielle Clark responded “William will not be attending Sociology of

                                                               19 Change. The class violates his civil rights. Retaliation with threats to his graduating is also a

                                                               20 violation of his civil rights. If you’d like to discuss an alternative to this class, I am available

                                                               21 anytime.”

                                                               22             48.     On October 19, 2020 Plaintiff Gabrielle Clark speaking for herself and William
                                                               23 Clark sent an email to Defendants Joseph Morgan, DPPS assistant superintendent Kimberly

                                                               24 Wall and DPAC principal Adam Johnson stating “William Clark will not be participating in

                                                               25 any type of Critical Race Theory class. This includes but isn’t limited to Sociology of Change.

                                                               26 It’s a direct violation of his civil rights. Mr. Adam Johnson has threatened retaliation by
                                                               27
                                                                    31
                                                               28        See Johnson Letter, Exhibit E.

                                                                                                              Page 21 of 39
                                                                                                                                  MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 22 of 39




                                                                1 preventing William from graduating unless he submits to having his civil right violated. This

                                                                2 is unacceptable.”

                                                                3             49.     Perhaps sensing that litigation might be looming, DPAC Principal and
                                                                4 Executive Director Adam Johnson on October 19, 2020 moderated his position: he wrote that

                                                                5 Plaintiff William Clark could not go and not do the assigned work if he chooses, and fail and

                                                                6 be ineligible for graduation. Or he could complete a “minimum” of the exercises and

                                                                7 assignments, and then receive a grade of a C minus, the school’s lowest passing grade, which

                                                                8 might disqualify him from being considered for admission to his preferred colleges of NYU

                                                                9 and Berkeley School of Music, but at least it would not be a failing grade. Or William could

                                                               10 participate fully in the “Sociology of Change” class, pass with flying colors and face no grade

                                                               11 penalization. These condescending offers, both coercive and retaliatory against
MARQUIS AURBACH COFFING




                                                               12 constitutionally protected speech and behavior, again forced Plaintiffs to choose between
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 fidelity to conscience and their right to a public education. Defendants to this day offer no
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 accommodation that does not include grade penalization.

                                                               15             50.     On October 29, 2020, Plaintiff Gabrielle Clark requested by email from
                                                               16 Defendants Kimberly Wall, Joseph Morgan and Adam Johnson, “I would like a course

                                                               17 syllabus, assignment materials, and a detailed description of options that are being considered.

                                                               18 I need those things in order to access how to move forward amicably. On another note, I have

                                                               19 asked for William’s last year’s report card. We’re trying to get ready for college, as this is

                                                               20 William’s senior year.” As happened time and again, Plaintiffs received instead from

                                                               21 Defendant Kimberly Wall only a wholesome and vague “Sociology of Change” course

                                                               22 syllabus that disguised the true nature of the class evident in the actual materials used on a

                                                               23 day-to-day basis with student32. No future “assignment materials” or other class literature was

                                                               24 provided, no “detailed description of options.” Extant course materials at issue appear to have

                                                               25 been recently edited by Defendants. To this day Defendants offer no accommodation

                                                               26 “options” beyond participating fully in the class or penalization, and Defendants refused to
                                                               27
                                                                    32
                                                               28        See Exhibit D.

                                                                                                            Page 22 of 39
                                                                                                                                MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 23 of 39




                                                                1 assure Plaintiffs and their attorney in mid-November and early December meetings that

                                                                2 identity confessions, derogatory labeling and “unlearning sessions” are not a part of the

                                                                3 remainder of either the “Sociology of Change” or “Change the World” project class.

                                                                4             51.     On November 16, Plaintiffs’ counsel sent a letter to Defendants Kimberly
                                                                5 Wall, Adam Johnson, and Joseph Morgan seeking accommodation and informing them that

                                                                6 their actions were illegal33. After two meetings in November and December and in

                                                                7 correspondence between Defendants and Plaintiffs’ counsel, Defendants have offered no

                                                                8 reasonable accommodation, have refused accommodations proffered, have refused to remove

                                                                9 or change the failing grade without grade penalizations and returning to and completing the

                                                               10 invasive, derogatory coursework at issue.

                                                               11             52.     Defendants’ intolerance of Plaintiffs William and Gabrielle Clark’s principled
MARQUIS AURBACH COFFING




                                                               12 objections to the “Sociology of Change” and Defendants’ refusal to reach reasonable
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 accommodation is aggressively dismissive of protected speech and behavior. Accommodation
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 with an alternative class, a virtual class at a local community college, an extra credit

                                                               15 assignment all have been proposed by Plaintiffs and declined by Defendants. The refusal of

                                                               16 any reasonable accommodation to Plaintiff William Clark’s conscientious objection

                                                               17 contradicts explicit public statements by DPPS and Superintendent and CEO Natasha Trivers,

                                                               18 who both have encouraged students “to use their voice to stand up for what is right, even if

                                                               19 that means pushing back against a school policy, occupying a cafeteria, or staging a walkout”

                                                               20 in online posts on March 30, 2020 from the school’s corporate and Ms. Triver’s personal

                                                               21 Twitter.com social media accounts:

                                                               22 . . .

                                                               23 . . .

                                                               24 . . .

                                                               25 . . .

                                                               26 . . .
                                                               27
                                                                    33
                                                               28        See Counsel Letter #1, Ex. F.

                                                                                                              Page 23 of 39
                                                                                                                                  MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 24 of 39


                                                                                                                                                                       519
                                                                                       DEMOCRACY PREP @DemocracyPrep • Mar 3:1
                                                                1                      O ne of Democracy Prep's top priorities is to reexamine our school policies
                                                                                       within the framework of "purpose over power and meaningful resistance."
                                                                2                      This means looking at each of our rules to ensure they are purposeful, just.
                                                                                       and push forward academic achievement for all scholars.

                                                                3                      CD I                 "t71 1              C;) 5

                                                                                       U Natasha Trkvers Retweeted
                                                                4
                                                                                          DEMOCRACY PREP
                                                                                          @DerriocracyPrep
                                                                5
                                                                               Replying to @DemocracyPrep
                                                                6
                                                                               We also want Democracy Prep scholars to feel
                                                                7              empowered to use their voice to stand up for what is
                                                                               right, even if that means pushing back against a school
                                                                8              policy, occupying a cafeteria, or staging a walkout.
                                                                9               4:53 PM • Mar 30, 2020 - Twitter Web App


                                                               10                   Retweet 3 Likes


                                                               11             53.      Offering no reasonable accommodation, Defendants followed through on their
MARQUIS AURBACH COFFING




                                                               12 threats of retaliation and gave Plaintiff William Clark a D- for the “Sociology of Change”
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 class, which by DPPS standards is failing. As Clark County was headed towards renewed
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 Covid-19 lockdowns right before Thanksgiving, Defendant Adam Johnson delivered the news

                                                               15 personally with an email to Plaintiffs Gabrielle and William Clark on November 20, 2020,

                                                               16 copying Defendant Kimberly Wall. The assignment of a D- grade for the “Sociology of

                                                               17 Change” class taught and graded by Defendant Kathryn Bass is a contravention of DPAC’s

                                                               18 official school handbook, and is intended as a malicious slight by Defendants against Plaintiffs

                                                               19 specifically designed to harm Plaintiff William Clark’s academic and professional career after

                                                               20 high school. According to the DPAC handbook, “Democracy Prep does not give Ds. We are

                                                               21 aware that the lowest grade most colleges and universities will accept for entry is a C-.

                                                               22 Because our mission is to send every DPPS scholar to the best colleges and universities, we

                                                               23 align our grading practices with these standards.”34 In retaliating against Plaintiff William

                                                               24 Clark for his protected speech, Defendants violated their own standards.

                                                               25             54.      As a senior, William Clark is now at work on his FAFSA application for
                                                               26 colleges and is plying away at his other DPAC classes, despite the fear and loss of trust of in
                                                               27
                                                                    34
                                                               28        See Exhibit C.

                                                                                                                     Page 24 of 39
                                                                                                                                          MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 25 of 39




                                                                1 school officials resulting from this ordeal. His best subject is pre-calculus at the moment and

                                                                2 he works at a fast-food restaurant most evenings to support his family. Plaintiff William Clark

                                                                3 has suffered severe mental and emotional distress as a result of Defendants’ actions and the

                                                                4 hostile environment created by their official actions, all of which has negatively impacted his

                                                                5 academic performance, personal relationships and future professional and academic

                                                                6 prospects. He is in therapy addressing these harms as well as the ongoing harassment and

                                                                7 discrimination that is being inflicted on him by Defendants under the guise of “civics.”

                                                                8 Plaintiffs are unmoved by individual Defendants’ professed intentions to “change the world”;

                                                                9 Plaintiff William Clark is at present living in fear of Defendants and reasonably anticipates

                                                               10 further retaliation. His fears have been confirmed. Upon information and belief Defendants

                                                               11 again blatantly retaliated against Plaintiffs and suspended William Clark on December 16,
MARQUIS AURBACH COFFING




                                                               12 2020, falsely accusing him of “racism” to preempt any further self-assertion from Plaintiffs.
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13           55.   Plaintiff Gabrielle Clark is also personally suffering from the shock, anxiety,
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 and guilt associated with having entrusted her son to adult custodians who have set upon

                                                               15 “unlearning” the Judeo-Christian values she imparted to her son, and from exposing him to

                                                               16 derogatory labeling and discrimination and retaliation on the basis of his perceived race,

                                                               17 sexuality and gender. She has suffered severe emotional distress as a result and is now

                                                               18 experiencing consequent heart palpitations, weight gain and insomnia. She has watched

                                                               19 helplessly as Defendants doubled down again and again on their coercive ideological policy

                                                               20 towards her son, threatening his graduation and academic and professional future.

                                                               21                                           COUNT I
                                                               22      VIOLATION OF THE FIRSTAMENDMENT TO THE U.S. CONSTITUTION
                                                                         (42 U.S.C. § 1983) (Freedom of Speech: Compelled Speech & Retaliation)
                                                               23

                                                               24           56.   Plaintiffs incorporate all of the above paragraphs as though fully set forth
                                                               25 herein.

                                                               26           57.   The First Amendment provides: “Congress shall make no law ... abridging the
                                                               27 freedom of speech, or of the press; or the right of the people peaceably to assemble, and to

                                                               28
                                                                                                           Page 25 of 39
                                                                                                                               MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 26 of 39




                                                                1 petition the Government for a redress of grievances.”35

                                                                2             58.    The United States Supreme Court has held with respect to public schools that
                                                                3 “[i]f there is any fixed star in our constitutional constellation, it is that no official, high or

                                                                4 petty, can prescribe what shall be orthodox in politics, nationalism, religion, or other matters

                                                                5 of opinion or force citizens to confess by word or act their faith therein.” W. Va. Bd. of Educ.

                                                                6 v. Barnette, 319 U.S. 624, 642 (1943). Defendants thus possess a duty to Plaintiff William

                                                                7 Clark to honor his protected First Amendment right. Defendants violated that duty, and their

                                                                8 unlawful actions are ongoing.

                                                                9             59.    Defendants repeatedly compelled Plaintiff William Clark’s speech.
                                                               10 Defendants compelled William Clark to proclaim in class and in assignments his race, color,

                                                               11 sex, gender and religious identities for which he in turn would receive official, derogatory
MARQUIS AURBACH COFFING




                                                               12 labels. Defendants predetermined programming required Plaintiff to accept and affirm that
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 “privilege” and “oppressor” as officially defined by Defendants attached to himself in virtue
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 of his professed identities, and then to reflect and interrogate on this in a non-private setting

                                                               15 within preset, ideologically loaded parameters set by Defendants.

                                                               16             60.    These unlawful actions were done with the specific intent to deprive Plaintiff
                                                               17 William Clark of his right to free speech, which Defendants do not value.

                                                               18             61.    Defendants and their employees and agents intended to violate Plaintiff
                                                               19 William Clark’s right to free speech, and deliberately invade the sphere of intellect and spirit

                                                               20 which it is the purpose of the First Amendment to our Constitution to reserve from all official

                                                               21 control. See West Virginia State Board of Education v. Barnette, 319 U.S. 624.

                                                               22             62.    Defendants were deliberately indifferent to the consequences of their unlawful
                                                               23 actions, actions which are overtly custom and practice for Defendant DPAC and DPPS, who

                                                               24 authored and orchestrated curriculum programming at issue which was then approved and

                                                               25 enforced in the face of Plaintiffs’ objections by Defendants School Board and its Chair Joseph

                                                               26 Morgan.
                                                               27
                                                                    35
                                                               28        See U.S. Const. Amend. I.

                                                                                                             Page 26 of 39
                                                                                                                                 MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 27 of 39




                                                                1           63.     Defendants Kathryn Bass, Adam Johnson, Kimberly Wall, Joseph Morgan and
                                                                2 Natasha Trivers’ actions including malicious, coordinated retaliation for Plaintiff William

                                                                3 Clark’s protected behavior were motivated by an animus for Plaintiff William Clark’s come-

                                                                4 uppance given his perceived race, color, gender and sexuality, disfavored identities which

                                                                5 Defendants explicitly and openly disparage and mock. Defendants ruined Plaintiff’s good

                                                                6 college prospects built on prior years’ hard work and good grades. Defendants show no

                                                                7 intention of altering their program of compelled speech in the future. Plaintiff seeks damages,

                                                                8 including punitive damages, against them.

                                                                9           64.     As a direct and proximate consequence of Defendants’ unlawful acts, Plaintiff
                                                               10 William Clark has and continues to suffer damages for loss of his First Amendment rights, for

                                                               11 pain and suffering, emotional distress, and damage to his academic and professional future
MARQUIS AURBACH COFFING




                                                               12 and reputation.
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13           65.     Absent an injunction, Plaintiff William Clark will suffer irreparable harm
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 because he will be denied a high school diploma, suffer further damage to his academic record,

                                                               15 and he will not go to college. At present he is being compelled to return to and participate in

                                                               16 Defendants’ unlawful activity, and he continues to suffer emotional distress and

                                                               17 discrimination in the face of it.

                                                               18                                            COUNT II
                                                               19       VIOLATION OF THE FIRSTAMENDMENT TO THE U.S CONSTITUTION
                                                               20      (42 U.S.C. § 1983) (Freedom of Speech: Association, Viewpoint Discrimination &
                                                                                                        Retaliation)
                                                               21

                                                               22           66.     Plaintiffs incorporate all of the above paragraphs as though fully set forth

                                                               23 herein.

                                                               24           67.     On or about September 10, 2020, Defendant Kathryn Bass terminated class

                                                               25 discussion when students, including Plaintiff William Clark, objected to a PowerPoint slide

                                                               26 she showed in Defendants’ “Sociology of Change Class” stating that “Reverse Racism
                                                               27 Doesn’t Exist” and “Black Prejudice Does Not Affect the Rights of White People.” Plaintiff

                                                               28 William Clark’s stated objections was that everyone can be racist, that prejudice anywhere
                                                                                                            Page 27 of 39
                                                                                                                               MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 28 of 39




                                                                1 from anyone can harm others. For this protected speech and others like it, Defendant Kathryn

                                                                2 Bass terminated class discussion immediately with the intent to chill and discourage future

                                                                3 objections to Defendants’ sponsored politicized ideology.

                                                                4           68.    Defendants Kathryn Bass’s actions, and the subsequent coordinated efforts
                                                                5 from Defendants to punish and fail Plaintiff William Clark, was intended to chill protected

                                                                6 speech that Defendants did not themselves share concerning their ideologically loaded

                                                                7 program concerning race, gender, sexuality and religion.

                                                                8           69.    Defendant Kathryn Bass, who was not adequately trained by Defendants,
                                                                9 instructed Plaintiff William Clark and other that denial of “privilege” which she attached to

                                                               10 their identities was itself “privilege,” and defined “privilege” in a non-descriptive, normative

                                                               11 and derogatory manner. Defendant Kathryn Bass thus created a coercive environment where
MARQUIS AURBACH COFFING




                                                               12 any objection from Plaintiff William Clark was and would be officially labeled pejoratively.
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Defendants’ program was intended to and did chill and discourage Plaintiff William Clark’s
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 speech.

                                                               15           70.    Defendants, their agents and employees threatened and punished Plaintiff
                                                               16 William Clark’s objection to entering into and participating in the above politicized program

                                                               17 and did so due to his perceived race, color, sex and gender. Defendants’ punishing demand

                                                               18 that he return to the psychologically abusive, politicized exercises where he must confess and

                                                               19 submit to official, pejorative labeling violates his right to free association and assembly.

                                                               20 Failing and threatening his graduation from high school is unlawful retaliation that itself

                                                               21 amounts to viewpoint discrimination.

                                                               22           71.    As a direct and proximate consequence of these ongoing unlawful acts,
                                                               23 Plaintiff William Clark has and continues to suffer damages for loss of First Amendment

                                                               24 rights, for pain and suffering, emotional distress, and damages to his academic and

                                                               25 professional future and reputation.

                                                               26           72.    Absent an injunction, Plaintiff William Clark will suffer irreparable harm
                                                               27 because he will be denied a high school diploma, suffer further damage to his academic record,

                                                               28 and will not go to college; he will be compelled to return to and participate in Defendants’
                                                                                                           Page 28 of 39
                                                                                                                               MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 29 of 39




                                                                1 unlawful activity, and continue to suffer emotional distress and discrimination in the face of

                                                                2 it.

                                                                3                                            COUNT III
                                                                4              VIOLATION OF THE FIFTH & FOURTEENTH AMENDMENT
                                                                5           (42 U.S.C. § 1983) (Due Process: Invasion of Privacy & Equal Protection)

                                                                6           73.    Plaintiffs incorporate all of the above paragraphs as though fully set forth
                                                                7 herein.

                                                                8           74.    Under the Fourteenth Amendment of the United States Constitution, the
                                                                9 Government may not “deprive any person of life, liberty, or property, without due process of

                                                               10 law.” U.S. Const. Amend. I.

                                                               11           75.    Defendants and their employees and agents owed duty under the due process
MARQUIS AURBACH COFFING




                                                               12 clause of the Fourteenth Amendment’s Plaintiff William Clark’s privacy.
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13           76.    Defendants violated Plaintiff William Clark’s substantive due process right to
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 privacy.

                                                               15           77.    Despite Defendants’ assurances to Plaintiff William Clark and other students,
                                                               16 Defendant Kathryn Bass’ confessional exercises were not in fact private or limited to the

                                                               17 herself and classroom participants. DPPS and DPAC Defendants conceded to Plaintiffs and

                                                               18 counsel in a mid-November meeting that school supervisors including Defendant Adam

                                                               19 Johnson could and would “tune in” to the classroom sessions unbeknownst to students like

                                                               20 Plaintiff William Clark, who were at the time in acute discomfort as their gender, race,

                                                               21 disabilities “if any” and sex were being confessed, interrogated and labeled.

                                                               22           78.    The same is true for the written, graded assignments requesting identity
                                                               23 divulgence submitted to Defendant Kathryn Bass on a database which in fact was visible to

                                                               24 all other DPAC teachers and supervisors, despite Defendant Kathryn Bass’ explicit and

                                                               25 written assurances in Defendants’ course material that submissions would be private.

                                                               26           79.    Defendants’ program of directing and requiring students to reveal, “unlearn”
                                                               27 and interrogate intimate matters relating to gender, sex, race, color and religious identities for

                                                               28 the service of an ideological, politically non-neutral purposes violate Plaintiff’s William
                                                                                                            Page 29 of 39
                                                                                                                                 MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 30 of 39




                                                                1 Clark’s right to privacy and is official intrusion upon seclusion. This curriculum programming

                                                                2 was screened and approved by Defendants DPAC School Board and SPSCA.

                                                                3          80.     Defendants’ unlawful actions are ongoing, intentional violations of Plaintiff
                                                                4 William Clark’s protected right to privacy that serve no reasonable state or educational interest

                                                                5 and yet to express policy of Defendants DPPS.

                                                                6          81.     Defendants Kathryn Bass, Adam Johnson, Joseph Morgan, Kimberly Wall and
                                                                7 Natasha Trivers in their individual and official capacities continue to violate Plaintiff William

                                                                8 Clark’s right to privacy and have threatened and retaliated against him on the basis of his

                                                                9 perceived race, color, gender, sex and religious background.

                                                               10          82.     The Equal Protection component of Due Process Clause guarantees persons
                                                               11 the equal protection of the laws and prohibits the government from treating persons
MARQUIS AURBACH COFFING




                                                               12 differently—on the basis of their race, religion, national origin, or alienage—than similarly
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 situated individuals.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14          83.     Defendants Katheryn Bass and the curriculum programming promoted by
                                                               15 Defendants Natasha Trivers, Kimberly Wall, Joseph Morgan and Adam Johnson label some

                                                               16 school age students, but not others, as “oppressors,” a condition which is “malicious and

                                                               17 unjust” and “wrong,” solely in virtue of their racial, religious and sexual identity. Plaintiff

                                                               18 William Clark was so labeled by his teacher for his gender, religious affiliation and perceived

                                                               19 race, while other students were not. Because of his apparent race and color—unique in his

                                                               20 class—Defendants gave Plaintiff William Clark more work to do, more “unlearning,” more

                                                               21 self-interrogation on view to other students similarly situated. This curriculum programming

                                                               22 was screened and approved by Defendants SPSCA and DPAC School Board, and generated

                                                               23 and promoted by DPPS and Defendant Natasha Trivers.

                                                               24          84.     When Plaintiff William Clark wished to absent himself from the harm-
                                                               25 inducing process and seek accommodation, Defendants Kathryn Bass, Adam Johnson,

                                                               26 Kimberly Wall, Joseph Morgan and Natasha Trivers retaliated by threatening and penalizing
                                                               27 him, despite publicly encouraging other students to do exactly what Plaintiff William Clark is

                                                               28 doing now: “to use their voice to stand up for what is right, even if that means pushing back
                                                                                                            Page 30 of 39
                                                                                                                                MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 31 of 39




                                                                1 against a school policy.” These Defendants show no intention of changing their behavior and

                                                                2 acted on an animus for Plaintiff William Clark’s perceived race, gender, and sex, and Plaintiffs

                                                                3 seek damages including punitive damages against them. Defendants regarded Plaintiff

                                                                4 William Clark’s conscientious objection as a right and privilege not reserved for him on

                                                                5 account of his perceived race, color, sex, and gender, and would have accommodated and not

                                                                6 have retaliated against a similarly situated student of different perceived race, color, sex and

                                                                7 gender that Defendants explicitly favor.

                                                                8          85.     Defendants’ direct actions, and implicit condoning of a plan to fail and frustrate
                                                                9 Plaintiff William Clark, and ransom his high school diploma, effectively forecloses his

                                                               10 chances at a good college education. Plaintiff William Clark has a right to a public high school

                                                               11 degree and college education, and Defendants’ efforts to undermine that right because of
MARQUIS AURBACH COFFING




                                                               12 animus for his perceived race, gender and religious background is a violation of William
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Clark’s Due Process and Equal Protection Rights.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14          86.     As a direct and proximate consequence of these ongoing unlawful acts,
                                                               15 Plaintiff William Clark has and continues to suffer damages for loss of First Amendment

                                                               16 rights, for pain and suffering, emotional distress, and damages to his academic and

                                                               17 professional future and reputation.

                                                               18          87.     Absent an injunction, Plaintiff William Clark will suffer irreparable harm
                                                               19 because he will be denied a high school diploma, suffer further damage to his academic record,

                                                               20 and will not go to college; he will be compelled to return to and participate in Defendants’

                                                               21 unlawful activity, and continue to suffer emotional distress and discrimination in the face of

                                                               22 it.

                                                               23                                            COUNT IV
                                                               24            VIOLATION OF THE FIRST & FOURTEENTH AMENDMENT
                                                               25 (42 U.S.C. § 1983) (Substantive Due Process: Establishment Clause, Family Integrity &
                                                                                                           Retaliation)
                                                               26
                                                                         88.     Plaintiffs incorporate the allegations and averments contained in paragraphs 1
                                                               27
                                                                  through 73 as if fully set forth herein.
                                                               28
                                                                                                            Page 31 of 39
                                                                                                                                 MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 32 of 39




                                                                1          89.     The Due Process Clause of the Fourteenth Amendment prohibits states from
                                                                2 depriving individuals of "life, liberty, or property without due process of law." The Supreme

                                                                3 Court has expanded individual rights in personal matters to include parental rights and family

                                                                4 integrity. See Meyer v. Nebraska, 262 U.S. 390, 401-02 (1923) (finding the protection of

                                                                5 parental autonomy linked to the American culture's placement of childrearing responsibility

                                                                6 on parents rather than the community and includes the "power of parents to control the

                                                                7 education of their own.").

                                                                8          90.     Plaintiff Gabrielle Clark, mother of William Clark, brings suit on her own
                                                                9 behalf against Defendants and claims violation of the Establishment Clause and her

                                                               10 substantive due process right to Family Integrity. Defendant Kathryn Bass explicitly

                                                               11 expressed an animus towards the family structure as such which she claimed in exhibited
MARQUIS AURBACH COFFING




                                                               12 course materials to be responsible for perpetuating “bigotry and homophobia.” Bass then took
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 the further step of repeatedly instructing Plaintiff Gabrielle Clark’s son to “unlearn” and “fight
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 back” against the principles Plaintiff Gabirelle Clark imparted to him throughout his

                                                               15 childhood, including the Christian precepts that all are equal before the eyes of God and should

                                                               16 be judged by their actions and character rather than attributes beyond their control, including

                                                               17 color, race, gender and sex. This extra step of “unlearning” and thought reform is non-neutral

                                                               18 and burdens religion, and knowing this, DPAC and DPPS endeavored to keep exercises and

                                                               19 assignments hidden from parents like Plaintiff Gabrielle Clark, who are supplied with generic

                                                               20 syllabi and course descriptions upon inquiry.          The politicized “unlearning” of family
                                                               21 influence, disguised from parents in deceptive course descriptions and syllabi, is mandatory

                                                               22 and graded. This coercive program was generated and promoted by Defendants DPPS and

                                                               23 Natasha Trivers, implemented by Defendant Kathryn Bass, and the campaign of coercing

                                                               24 participation directly carried out by Defendants Kimberly Wall, Joseph Morgan, and Adam

                                                               25 Johnson. Defendants’ position to this day is that Plaintiff William Clark must either return to

                                                               26 Defendant Kathryn Bass’ class without any accommodating change to the class content or
                                                               27 programming or he will not graduate.

                                                               28
                                                                                                            Page 32 of 39
                                                                                                                                 MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 33 of 39




                                                                1           91.     Parents have a right to guide and direct the upbringing of their children, and
                                                                2 courts have honored and upheld this right. Troxel v. Granville, 530 U.S. 57, 66 (2000)

                                                                3 (O’Connor, J., plurality). Defendants Kathryn Bass and Adam Johnson personally coerced

                                                                4 Plaintiff Gabrielle Clark’s son to change the fundamental beliefs imparted to him by his family

                                                                5 in order to convert those beliefs to a preapproved set of beliefs by methods that make clear

                                                                6 that in certain areas of ideology and belief, dissent or deviance is not acceptable. Defendant

                                                                7 Kathryn Bass violated and sought to undermine this right, and her deliberate program of

                                                                8 discouraging family integrity through thought reform and “unlearning” was both endorsed

                                                                9 and abetted by her superiors Defendants Adam Johnson, Kimberly Wall, Joseph Morgan, and

                                                               10 Natasha Trivers, all of whom coordinated punishing action against Plaintiff Gabrielle Clark

                                                               11 and her son when she began asking too many questions and Plaintiff William Clark stopped
MARQUIS AURBACH COFFING




                                                               12 participating in the mandatory, confessional “unlearning” which now amounts to custom and
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 policy for DPPS, DPAC and the DPAC School Board.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14           92.     Plaintiff Gabrielle Clark seeks damages and injunctive relief as Defendants
                                                               15 continue to coerce her son into associating and participating in the above class programs, a

                                                               16 requirement which serves no legitimate state interest and is an unreasonable intrusion into the

                                                               17 traditional parent-child relationship.

                                                               18                                               COUNT V
                                                               19                       Title VI Violation of 42 U.S.C. § 2000d et seq.
                                                                    (Intentional and Retaliatory Discrimination on The Basis Of Color, Race and Religion
                                                               20
                                                                         against Authority, DPAC, DPPS and Defendants in their individual capacity)
                                                               21
                                                                            93.     Plaintiffs incorporate the allegations and averments contained in paragraphs 1
                                                               22
                                                                    through 58 as if fully set forth herein.
                                                               23
                                                                            94.     Defendants SPSCA, DPAC School Board, DPPS, DPAC, Democracy Prep
                                                               24
                                                                    Nevada and Democracy Prep Public Schools Inc. are recipients of federal funds, and
                                                               25
                                                                    Defendants harassed and discriminated against Plaintiffs on the basis of actual and perceived
                                                               26
                                                                    race, sex and religion in violation of Title VI of the Civil Rights Act of 1964, 42 U.S.C. §
                                                               27
                                                                    2000d, et seq. by intentionally supporting, promoting and implementing a curriculum
                                                               28
                                                                                                               Page 33 of 39
                                                                                                                                MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 34 of 39




                                                                1 programming, including but not limited to the “Sociology of Change” class, with knowledge

                                                                2 of its discriminatory content and application, which has created a hostile educational

                                                                3 environment for those students who are actually or perceived white, biracial, male and of a

                                                                4 Christian heritage. Defendants’ behavior treated Plaintiff William Clark differently than other

                                                                5 students on account of his racial, sexual, and religious identities. Title VI is privately

                                                                6 enforceable.

                                                                7          95.    The courts have followed a broad interpretation by ruling that a local
                                                                8 educational agency for purposes of Title VI and IX includes school boards, their members,

                                                                9 and agents of such boards. Meyers v. Board of Education of the San Juan School District, 905

                                                               10 F. Supp. 1544 (D. Utah 1995) (34); Horner, supra, 43 F.3d at 272 (Title IX case); see also

                                                               11 Young by and through Young v. Montgomery County (AL) Board of Education, 922 F. Supp.
MARQUIS AURBACH COFFING




                                                               12 544 (M.D. Al. 1996).
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13          96.    Discriminatory conduct based on perceived race, gender, sex and religious
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 heritage from Defendants include failing him and coercing him to submit to the discriminatory

                                                               15 exercises in class. Defendants Natasha Trivers and DPPS publicly announced they encourage

                                                               16 students to push back against “school policy” they object to on principle; Defendants departed

                                                               17 from this stated policy with respect to Plaintiff William Clark because of his perceived race,

                                                               18 color, sex, gender and religious background which Defendants explicitly disfavor. Defendant

                                                               19 Adam Johnson followed through on his threats personally delivered the report card with a

                                                               20 failing grade that contravened Defendants’ own grading policy. Defendant Katherine Bass

                                                               21 failed William Clark in accordance with Executive Director and Principal Adam Johnson’s

                                                               22 retaliatory threats. Defendants Kimberly Wall and Natasha Trivers at DPPS in the New York

                                                               23 headquarters, oversaw and coordinated the above for three months, and refused to reasonably

                                                               24 accommodate Plaintiffs at the direction of Defendant Natasha Trivers, who designed,

                                                               25 promoted and implemented the coercive, invasive and discriminatory curriculum program.

                                                               26 All of the above was manifestly intentional discrimination and disparate treatment based on
                                                               27 Plaintiff William Clark’s perceived race and color, resulting in disparate impact and effects.

                                                               28
                                                                                                           Page 34 of 39
                                                                                                                               MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 35 of 39




                                                                1          97.     Discrimination that violates the Equal Protection Clause of the Fourteenth
                                                                2 Amendment of the United States Constitution constitutes a violation of Title VI when

                                                                3 committed by any institution, entity or person that accepts federal funds.

                                                                4          98.     In virtue of Plaintiff William Clark’s perceived racial identity, Defendants’
                                                                5 programming required him to work more strenuously than other students of different

                                                                6 backgrounds: he had more “unlearning” to do, more discomfort and self-interrogation to

                                                                7 experience in class on account of his perceived race and color which is visibly different than

                                                                8 his classmates. When Defendants Adam Johnson, Joseph Morgan, Kimberly Wall learned of

                                                                9 his objection to this, they set about threatening and punishing rather than accommodating him,

                                                               10 demonstrating actual animus towards Plaintiff William Clark on account of his perceived race

                                                               11 for not confessing and interrogating his officially disapproved of identities and failing to
MARQUIS AURBACH COFFING




                                                               12 submit to derogatory, racist labeling by school officials.
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13          99.     Plaintiffs have been and will continue to be injured by Defendants’ unlawful
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 and discriminatory actions, which resulted in emotional distress, trauma, and included overt

                                                               15 retaliation described in detail above, and Plaintiffs are entitled to compensatory and punitive

                                                               16 damages.

                                                               17          100.    Plaintiffs are entitled to declaratory judgment, pursuant to 28 U.S.C. §2201,
                                                               18 and a temporary and permanent injunction pursuant to Rule 65 because there is no plain,

                                                               19 adequate or speedy remedy at law to restore Plaintiff William Clark’s academic standing and

                                                               20 prevent Defendants from continuing to practice and promote the aforementioned actions that

                                                               21 discriminate on the basis of race, religion, gender and sexuality in violation of Title VI of the

                                                               22 Civil Rights Act of 1964 and because the harm Plaintiffs’ members will otherwise continue

                                                               23 to suffer is irreparable.

                                                               24                                            COUNT VI
                                                               25          (Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681 et seq.)
                                                               26          101.    Defendants including the various Defendants in their individual capacity,
                                                               27 violated Title IX in their deliberate indifference and active promotion of the ongoing abuse

                                                               28 and harassment Plaintiff William Clark endured in DPAC’s “Sociology of Change” class.
                                                                                                            Page 35 of 39
                                                                                                                                MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 36 of 39




                                                                1             102.    Title IX protects Plaintiffs from sex discrimination when they are engaged in
                                                                2 education programs and activities that receive federal financial assistance. Among the types

                                                                3 of sex discrimination that Title IX expressly prohibits is intentional sexual harassment. Title

                                                                4 IX gives individuals a private right of action to bring a lawsuit for injunctive or monetary

                                                                5 relief.

                                                                6             103.    After being repeatedly directed to divulge his sexual and gender identities,
                                                                7 school officials as custom and policy and in direct acts described above publicly labeled,

                                                                8 repeatedly categorized and stereotyped Plaintiff William Clarks’ sexual and gender identities

                                                                9 in a deliberately pejorative and offensive manner. Plaintiff William Clark was compelled to

                                                               10 participate in this process of publicly professing identity, receiving in turn derogatory

                                                               11 designation of “oppressor” on the basis of his sex and gender identities. This included inherent
MARQUIS AURBACH COFFING




                                                               12 “internalized privilege [which] includes acceptance of a belief in the inherent inferiority of
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 the [corresponding] oppressed group” as well as the “the inherent superiority or normalcy of
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 one’s own privileged group.” This is a condition inherent to Plaintiff’s sex and gender which

                                                               15 is “malicious and unjust” and “wrong” whether conscious or not36. Denial of these qualities

                                                               16 inherent to Plaintiff’s sex and gender is itself privilege “expressed as denial.”37 Only

                                                               17 Plaintiff’s sex can commit “real life interpersonal oppression”, Plaintiff’s female teacher told

                                                               18 him, since “interpersonal sexism is what men to do women.”38. Plaintiffs were harmed by

                                                               19 Defendants behavior.

                                                               20                                             COUNT VII
                                                               21                                         (Breach of Contract)
                                                               22             104.    Plaintiffs incorporate the allegations and averments contained in paragraphs 1
                                                               23 through 85 as if fully set forth herein.

                                                               24

                                                               25
                                                                    36
                                                               26        See Exhibit A, page 11.
                                                                    37
                                                               27        See Exhibit A, page 2.
                                                                    38
                                                               28        See Exhibit A, page 9.

                                                                                                              Page 36 of 39
                                                                                                                                  MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                         Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 37 of 39




                                                                1              105.   Under Nevada law, “the Plaintiff in a breach of contract action [must] show
                                                                2 (1) the existence of a valid contract, (2) a breach by the Defendant, and (3) damage as a result

                                                                3 of the breach.” Saini v. Int'l Game Tech., 434 F. Supp. 2d 913, 919-20 (D. Nev. 2006). Parents

                                                                4 like Plaintiff Gabrielle Clark were caught off guard. The acquisition of Agassi Collegiate Prep

                                                                5 was affected under the DPPS Duffy administration, which sold a rather neutral and traditional

                                                                6 version of “civics.” Suddenly after renewing enrollment, students were being instructed in a

                                                                7 fringe ideology overtly hostile to core personal beliefs about home and church, race and sex,

                                                                8 and much else. The new “Sociology of Change” violates its own DPPS charter and mission,

                                                                9 set forth on their website and elsewhere, including its handbook39. DPAC violated its own

                                                               10 Nondiscrimination, Harassment and grading standards pursuant to its own handbook.40. As

                                                               11 such Plaintiffs Gabrielle Clark and William Clark claim breach of contract.
MARQUIS AURBACH COFFING




                                                               12              106.   Defendant’s breach of contract implicates both Nevada state law and 42 U.S.C.
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 § 1981 subsection (b) as it involves “the making, performance, modification, and termination
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 of contracts, and the enjoyment of all benefits, privileges, terms, and conditions of the

                                                               15 contractual relationship.” Domino's Pizza, Inc. v. McDonald, 546 U.S. 470, 126 S.Ct. 1246,

                                                               16 163 L.Ed.2d 1069 (2006) (holding “[a]ny claim brought under § 1981 ... must initially identify

                                                               17 an impaired contractual relationship under which the Plaintiff has rights.”).

                                                               18                                       PRAYER FOR RELIEF
                                                               19              WHEREFORE, Plaintiffs William Clark and Gabrielle Clark pray for the following
                                                               20 relief as to all counts:

                                                               21              1.     An emergency preliminary order pursuant to Rule 65 restraining and enjoining
                                                               22 Defendants from denying Plaintiff William Clark his high school graduation and degree, and

                                                               23 accommodating William Clark with an alternative non-discriminatory, non-confessional class

                                                               24 that would restore him to good academic standing as he applies for college;

                                                               25

                                                               26
                                                                    39
                                                               27        See Exhibit D.
                                                                    40
                                                               28        Id.

                                                                                                              Page 37 of 39
                                                                                                                                 MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                     Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 38 of 39




                                                                1         2.      A preliminary order pursuant to Rule 65 directing Defendants to remove and
                                                                2 expunge from the Plaintiff William Clark’s academic record the D- grade at issue;

                                                                3         3.      For a temporary restraining order, preliminary and permanent injunction,
                                                                4 enjoining and restraining Defendants from engaging in the policies, practices and conduct

                                                                5 complained of herein, enjoining Defendants, its officials, agents, employees, and all persons

                                                                6 acting in concert or participating with them from implementing or enforcing compulsory,

                                                                7 graded identity confessions and derogatory labeling;

                                                                8         4.      A declaratory judgment, pursuant to the Declaratory Judgment Act, 28
                                                                9         U.S.C. § 2201, 42 U.S.C. § 1983 from the Court that requiring students to reveal racial,
                                                               10 sexual, gender and religious identities in a public-school classroom and graded assignments

                                                               11 is unconstitutional compelled speech and invasion of privacy;
MARQUIS AURBACH COFFING




                                                               12         5.      A declaratory judgment, pursuant to the Declaratory Judgment Act, 28
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13         U.S.C. § 2201, from the Court that Defendants above- described curriculum
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 programming and retaliatory acts violate Title VI of the Civil Rights Act of 1964, 42 U.S.C.

                                                               15 § 2000d et seq.;

                                                               16         6.      A declaratory judgment, pursuant to the Declaratory Judgment Act, 28
                                                               17         U.S.C. § 2201, from the Court that Defendants above- described actions and
                                                               18 curriculum, violate the Equal Protection Clause of the Fourteenth Amendment of the United

                                                               19 States Constitution, 42 U.S.C. § 1983;

                                                               20         7.      A declaratory judgment from the Court that Defendants’ actions and
                                                               21 curriculum programming in whole or in part violate Plaintiff Gabrielle’s Clark’s Fourteenth

                                                               22 Amendment substantive due process rights to family integrity;

                                                               23         8.      Monetary damages, compensatory and punitive;
                                                               24         9.      An award of attorney’s fees and costs generally and pursuant to 42 U.S.C.
                                                               25 §1988 and any other applicable provisions;

                                                               26         10.     Pre-judgment and Post-judgment interest at the maximum amount permitted
                                                               27 by law; and

                                                               28
                                                                                                           Page 38 of 39
                                                                                                                               MAC:00002-216 4234620_2 12/22/2020 3:51 PM
                                                                    Case 2:20-cv-02324-RFB-VCF Document 1 Filed 12/22/20 Page 39 of 39




                                                                1       11.    Such other and further relief as the Court may deem just and proper.
                                                                2       Dated this 22nd day of December, 2020.
                                                                3
                                                                                                            MARQUIS AURBACH COFFING
                                                                4

                                                                5
                                                                                                            By     /s/ Brian R. Hardy, Esq.
                                                                6                                                Brian R. Hardy, Esq.
                                                                                                                 Nevada Bar No. 10068
                                                                7                                                10001 Park Run Drive
                                                                                                                 Las Vegas, Nevada 89145
                                                                8
                                                                                                                 Jonathan O’Brien, NYB No. 5043369
                                                                9                                                (Pending Admission Pro Hac Vice)
                                                                                                                 Law Office of Jonathan O’Brien
                                                               10                                                43 W. 43rd St, Suite 002
                                                                                                                 New York, NY 10036
                                                               11
MARQUIS AURBACH COFFING




                                                                                                              Attorneys for Plaintiffs William Clark and
                                                               12                                             Gabrielle Clark
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14

                                                               15

                                                               16

                                                               17

                                                               18

                                                               19

                                                               20

                                                               21

                                                               22

                                                               23

                                                               24

                                                               25

                                                               26
                                                               27

                                                               28
                                                                                                       Page 39 of 39
                                                                                                                           MAC:00002-216 4234620_2 12/22/2020 3:51 PM
